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                                                                         4                                  UNITED STATES DISTRICT COURT

                                                                         5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                                                         7     KELLY CARROLL,                                      Case No. 15-cv-02321-EMC

                                                                         8                    Plaintiff,
                                                                                                                                   ORDER DENYING MOTION TO
                                                                         9             v.                                          INTERVENE; AND GRANTING IN
                                                                                                                                   PART AND DENYING IN PART
                                                                         10    WELLS FARGO & COMPANY, et al.,                      MOTION TO RELATE
                                                                         11                   Defendants.                          Docket Nos. 73, 86

                                                                         12
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                                                                         13          The Court held a hearing on a motion to intervene and a motion to relate on July 21, 2016.

                                                                         14   This order memorializes the Court‟s oral rulings made at the hearing and provides additional

                                                                         15   analysis, as necessary.

                                                                         16                                           I.    DISCUSSION

                                                                         17   A.     Motion to Intervene

                                                                         18          The motion to intervene is DENIED. Intervention as of right is improper as to seven out

                                                                         19   of the ten proposed intervenors because the seven do not have a significant protectable interest in

                                                                         20   Carroll – i.e., they could not be members of the Carroll class if certified. See Wells Opp‟n at 5

                                                                         21   (noting that seven of the proposed intervenors stopped working for Wells prior to the beginning of

                                                                         22   the Carroll class period, i.e., April 2011). See, e.g., Lee v. The Pep Boys-Manny Moe, No. 12-cv-

                                                                         23   05064-JSC, 2016 U.S. Dist. LEXIS 9753, at *9 (N.D. Cal. Jan. 27, 2016) (indicating that proposed

                                                                         24   intervenor might not have a significant protectable interest in the lawsuit because he “is arguably

                                                                         25   not even a putative member of Plaintiff's proposed UCL class”).

                                                                         26          As for the remaining three, even if they have a significant protectable interest, they are not

                                                                         27   so situated that the disposition of Carroll may as a practical matter impair or impede their ability

                                                                         28   to protect their interest. The three can make objections if and when Ms. Carroll moves to certify;
                                                                         1    they can also object and/or opt out if, e.g., a settlement class is contemplated. See, e.g., Zepeda v.

                                                                         2    Paypal, Inc., No. 10-cv-02500-SBA (JCS), 2014 U.S. Dist. LEXIS 56699, at *20-21 (N.D. Cal.

                                                                         3    Apr. 23, 2014) (“If the class is certified and Putative Interveners are members of the class, then

                                                                         4    Putative Interveners do have means to protect their interests. That is, they may object to the

                                                                         5    settlement during the hearings on motions for preliminary or final approval, or they may opt out of

                                                                         6    the class and pursue their claims separately.”). Furthermore, the Court orders that counsel for the

                                                                         7    three proposed intervenors be served with all significant motions, including any motion for

                                                                         8    preliminary approval of settlement.

                                                                         9           Finally, the Court notes that, at least at this juncture, the three proposed intervenors have

                                                                         10   not shown that Ms. Carroll and/or her counsel cannot adequately represent their interest. Where

                                                                         11   an applicant for intervention and an existing party „have the same ultimate objective, a

                                                                         12   presumption of adequacy of representation arises.‟” Nw. Forest Res. Council v. Glickman, 82
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                                                                         13   F.3d 825, 838 (9th Cir. 1996); see also Prete v. Bradbury, 438 F.3d 949, 957 (9th Cir. 2006).

                                                                         14   Here, there is nothing to cast doubt that Ms. Carroll and the proposed intervenors share the same

                                                                         15   ultimate objective. Moreover, nothing shows that Ms. Carroll will not seek the discovery that the

                                                                         16   proposed intervenors have developed or may develop in their cases.

                                                                         17          Although the proposed intervenors have a better case for permissive intervention – there

                                                                         18   appear to be some questions of law or fact in common (e.g., California Labor Code violations

                                                                         19   based on failure to pay for off-the-clock time and meal breaks) – the Court still has discretion to

                                                                         20   deny permissive intervention and, here, the adequacy of representation alone is a sufficient ground

                                                                         21   to deny permissive intervention.

                                                                         22          For the above-stated reasons, the Court denies the motion to intervene. However, the

                                                                         23   Court orders the Carroll parties to keep the proposed intervenors apprised of significant motions

                                                                         24   as noted above.

                                                                         25   B.     Motion to Relate

                                                                         26          The plaintiffs in the two federal cases – Layog v. Wells Fargo, No. C-16-2011 JD (filed on

                                                                         27   April 15, 2016), and Santini v. Wells Fargo, No. C-16-1992 YGR (also filed on April 15, 2016) –

                                                                         28   have asked for their cases to be related to Carroll. The Court GRANTS the motion to relate
                                                                                                                                 2
                                                                         1    Layog but DENIES the motion to relate Santini. Because of the overlap in class definitions in

                                                                         2    Layog and Carroll, relation of these cases is sensible. However, there is no such overlap between

                                                                         3    Santini and Carroll; indeed, there seems to be no dispute that the putative class members in

                                                                         4    Santini (phone bankers in Wells Fargo call centers) operate under a different structure than the

                                                                         5    putative class members in Carroll (nonexempt employees who service Wells Fargo customers at

                                                                         6    bank branches).

                                                                         7    C.     Meet and Confer

                                                                         8           Based on the overlap between Layog and Carroll, the Court ordered the parties to meet and

                                                                         9    confer to discuss the possibility of consolidation. In light of this order, the Court defers setting a

                                                                         10   hearing on the motion to dismiss which has been fully briefed in Layog. See generally Layog,

                                                                         11   Docket No. 27 (motion to dismiss). In addition, the Court hereby vacates the class certification

                                                                         12   deadlines previously set in Carroll. During their meet and confer, the parties shall also discuss
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                                                                         13   setting new dates for the motion to dismiss (if necessary) and motion for class certification.

                                                                         14                                           II.   CONCLUSION

                                                                         15          For the foregoing reasons, the motion to intervene is denied, and the motion to relate is

                                                                         16   granted in part and denied in part.

                                                                         17          This order disposes of Docket Nos. 73 and 86.

                                                                         18

                                                                         19          IT IS SO ORDERED.

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                                                                         21   Dated: July 22, 2016

                                                                         22                                                     ______________________________________
                                                                                                                                EDWARD M. CHEN
                                                                         23                                                     United States District Judge
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